          Case 2:14-cr-00182-RMP           ECF No. 79       filed 07/29/15                     1 FILED
                                                                               PageID.167 PageU.S. of 2IN THE
                                                                                                   DISTRICT COURT
O PS 8                                                                                            EASTERN DISTRICT OF WASHINGTON
(3/15)


                             UNITED STATES DISTRICT COURT                                           Jul 29, 2015
                                                                                                         SEAN F. MCAVOY, CLERK

                                                           for
                                          Eastern District of Washington


U.S.A. vs.                    Hickson, John M                         Docket No.         0980 2:14CR00182-RMP-1


                                Petition for Action on Conditions of Pretrial Release

        COMES NOW Charles J. Kuipers, PRETRIAL SERVICES OFFICER, presenting an official report upon the
conduct of defendant John M. Hickson, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers sitting in the court at Spokane, Washington, on the 22nd day of June 2015 under the
following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical
marijuana under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant tested presumptive positive for amphetamine on July 9, 2015. Lab results confirmed both
amphetamine and methamphetamine. Defendant has signed an admission of use form.

Violation #2: The defendant submitted a urinalysis test to ADEPT at the time of his substance abuse assessment on July
17, 2015, of which lab results confirm the specimen was positive for amphetamine and methamphetamine.

                 PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                        I declare under the penalty of perjury
                                                                        that the foregoing is true and correct.
                                                                        Executed on:       July 28, 2015
                                                                 by     s/Charles J. Kuipers
                                                                        Charles J. Kuipers
                                                                        U.S. Pretrial Services Officer
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  Re: Hickson,, John M
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THE COURT ORDERS

[X]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer
                                                                             July 29, 2015
                                                                      Date
